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                          UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF MASSACHUSETTS
                                        (Eastern Division)



In re

                                                      Chapter 13
         ANDREW GREENHUT,
                                                      Case No. 19-10782-JNF

                        Debtor.




        OBJECTION OF CREDITOR GITA SRIVASTAVA TO APPLICATION FOR
        COMPENSATION BY SPECIAL COUNSEL.CHARLES"CHAD" BARUCH

        Gita Srivastava ("Srivastava"), the holder of divorce-related claims against Andrew

Greenhut(the "Debtor") and the only significant bona fide claim holder in this case, hereby files

this Objection to the Application by Attorneyfor the Debtor(s)for Compensation under 11

U.S.C §330(a)andMLBR Appendix 1, Rule 13-7(f)(l) filed by Attomey Charles "Chad"
Baruch ("Baruch")[Doc. No. 150](the "Baruch Application"). The Debtor previously filed two

successive motions to employ Baruch before finally obtaining authority, and the Court

specifically cautioned the Debtor and Baruch that any application for fees was subject to review
by the Court and objection by Srivastava. Baruch undertook representation ofthe Debtor with
the clear understanding and risk of nonpayment by the bankruptcy estate. Moreover, Baruch is

not bankruptcy counsel and is not being retained as such. Baruch's engagement is manifestly not

in the best interest ofthe Debtor's estate and creditors. In further support ofthis Objection,

Srivastava represents as follows:

                                           Introduction


        1.     The Baruch Application suffers from block billing, terse descriptions ofservices,

and a narrative reduced to a single sentence describing the services rendered. As such, the
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Baruch Application fails to meet even the most liberal ofrequirements for a fee application
under the Bankruptcy Code and the Local Rules ofthis Court.

       2.      Even were the Baruch Application to be allowed, payment of any fees would be

inappropriate. The Debtor is already subject to at least ten separate rulings requiring him to
perform under the terms of his agreed-upon divorce settlement with Srivastava, and the Debtor
remains in contempt ofthat agreement. The Debtor remains subject to garnishment and related
orders in Texas. Allowing the Debtor to misdirect funds owed to Srivastava to yet another

attorney in yet another unfounded lawsuit attacking yet another final judgment is manifestly
inequitable. The Debtor's funds(including any funds held in retainer by Baruch or other
attorneys)should instead be used to pay the Debtor's court-ordered obligations to Srivastava.
       3.      Although Baruch styled his fee request as an "Application by attorney for the

debtor," Baruch provided no services to the bankruptcy estate. Nevertheless, Baruch is seeking

compensation from that estate. Despite not providing any services or benefit to the Debtor's

creditors, payment to Baruch would penalize those creditors—^the beneficiaries of and interest

holders in the estate—^by reducing payments to them.

        4.     The Debtor elected to file his bankruptcy petition while the Texas litigation, in

which Baruch represents the Debtor, was pending. Any difficulty this creates is entirely Debtor's

own making—both by committing funds to Baruch while acting in contempt ofcourt-ordered

payments owed to creditor Srivastava, and by the Debtor's choice to file bankruptcy while his

own lawsuits in Texas are pending. The Debtor's scheme is a transparent attempt to convert

funds belonging to Srivastava to his own use as legal fees for his ongoing frivolous challenges to

Texas court orders.
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       5.      The Bankruptcy Court(pursuant to the hearings conducted by Judge Bailey on

May 2, 2020, and June 27,2020) put the Debtor and Baruch on notice that, while Debtor was
permitted to engage counsel, no permission was granted to usefundsfrom the bankruptcy estate
to payfor such engagement. In fact, the Debtor has indicated that Baruch's engagement for the
last several years has been funded by Debtor's parents. There is no reason that should change
now. Instead, the Debtor would have this Court prejudice creditor Srivastava by directly

liquidating funds from the bankruptcy estate that are owed to creditor Srivastava. Any dispute in
connection with Srivastava's claims and rights to funds should be resolved in connection with

her pending Motion to Dismiss. This Court is entitled to fully evaluate the issues, consider the
Motion to Dismiss for bad faith, and then make a determination which will also resolve any

question offees to Baruch.

       6.      To the extent the Debtor claims this creates a hardship, the hardship is of his own

making. He chose to file for bankruptcy mid-stream in the Texas proceedings. The Debtor has
argued that, although Baruch provides no bankruptcy services or benefit to the estate, Baruch's
engagement is necessary and beneficial to the Debtor personally. Indeed, the Debtor is entitled to
engage counsel for his own interests, however,the Debtor is not entitled to exhaust estate assets

to pay such counsel. It would be prejudicial and inequitable to allow the Debtor to seek the
benefits of bankruptcy protection to stay creditor Srivastava's pending and ongoing efforts in the

Texas courts to enforce herjudgments against him, while allowing him to use the bankruptcy

estate funds to fund his own litigation in Texas. The Debtor may not simultaneously use the

bankruptcy stay as both sword and shield.
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                       Prepetition Divorce and Termination Proceedings

A.        Divorce and Property Settlement

          7.    The Debtor is a serial litigant who has dragged Srivastava through more than four

years of litigation in four courts across two states. After proposing, agreeing to, and obtaining
judgment on an agreement for divorce and property division (the "Agreed Divorce Property

Judgment"), the Debtor later changed his mind and decided to collaterally attack the final

judgment that he did not appeal. The Debtor's bankruptcy filing, coming contemporaneously
with his continued efforts to challenge Texas divorce court orders, is merely his latest attempt to

evade long-standing court orders. The Debtor has spent the last three years squandering the

money he owes Srivastava on fiivolous litigation attacking the Agreed Divorce Property

Judgment. Without exception, every Texas court examining the issue has rejected his attacks.

          8.    The Debtor initially followed the Agreed Divorce Property Judgment. After five

months, however, he stopped making payments and decided to stop complying with this and

other court orders. The Debtor then spent the next three and a half years refusing to comply with

the property division he himself requested. He stands in violation of at least ten Texas court

orders.

B.        Enforcement Proceedings

          9.    In July 2016, due to the Debtor's absolute refusal to comply with orders of the

Texas Trial Court, including the Agreed Divorce Property Judgment, Srivastava was forced to

file a Petitionfor Enforcement ofProperty Division in Texas. Both parties appeared with counsel

and, after a trial, the court entered judgment against the Debtor on March 30, 2017. Rejecting the

Debtor's spurious defenses, the Texas court found ten separate violations ofthe Agreed Divorce

Property Judgment and rendered judgment against the Debtor in the amount of$38,000, plus fees
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and interest. The Texas court even ordered the Debtor to pay Srivastava's attorneys' fees. The

Debtor still refused to pay.

         10.   In August 2018,to effectuate the March 2017 enforcementjudgment, Srivastava

was forced to file three separate garnishment actions against the Debtor in Texas. Srivastava won

each action, obtaining orders against the Debtor from October through November 2018.

Nevertheless,the Debtor continued his pattern of refusing to accept the Texas courts' rulings and

filed a motion for new trial in the garnishment cases. The Texas court denied his motions on

February 6, 2019.

         11.   Once again, the Debtor failed to file any appeal. Although all ofthe garnishment

orders remain in effect, prior to his bankruptcy filing, the Debtor refused to pay or to comply

with any such orders. Instead, the Debtor devoted his funds to engaging additional attorneys to
prosecute ever more spurious claims and attacks on final orders.

         12.   After failing to achieve his desired results in more than 10 proceedings in Texas

courts over three years offrivolous litigation, the Debtor filed his bankruptcy petition in
Massachusetts in a last-ditch effort to escape the effects of his knowing and voluntary actions in

Texas.


C.       Termination of Debtor's Parental Rights

         13.   The case regarding the final and irrevocable termination ofthe Debtor's parental

rights in connection with Srivastava's child (the "Termination Case")is unrelated to the

bankruptcy: it is a separate cause of action from the parties' divorce case and Agreed Divorce

Property Judgment which is at issue in the bankruptcy. The Termination Case is progressing at

the Texas Supreme Court, with briefing on the merits just recently completed in November 2019.

The Termination Case involves issues of special importance to the State of Texas, which has
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written an amicus briefin support of Srivastava. The Debtor's Texas counsel has agreed that

bankruptcy issues do not affect the Termination Case, and supported a motion in Texas to

reinstate the Termination Case notwithstanding this bankruptcy. Baruch himself, in full

awareness that he may not be approved or paid through the pending bankruptcy, consented to

moving forward. His representation ofthe Debtor outside the bankruptcy was never conditioned

on approval of his fees by the Bankruptcy Court.

       14.     The Termination Case involves a four-year-old final judgment oftermination of

the Debtor's parental rights, entered by the Texas Trial Court on October 21, 2015. The Debtor

voluntarily relinquished his parental rights. The Debtor agreed to the Texas Trial Court's order

terminating his rights. He never appealed.

       15.     Six months later, the Debtor changed his mind, and collaterally attacked the

termination. The Debtor's collateral attack was denied by the Texas Bill-of-Review court, which

held unequivocally that the Debtor was not the victim offraud, duress, or coercion, nor had the

Debtor ever appealed the order. It once again found him guilty of unclean hands and negligence.

The Texas Appeals Court overturned the denial ofthe termination bill ofreview on appeal, while

expressly holding that the Agreed Divorce Property Judgment was separately enforceable and

affirming the denial of Debtor's bill ofreview in the Divorce Case. Srivastava has appealed the

Texas Appeals Court's reversal ofthe termination bill ofreview to the Texas Supreme Court.

The State of Texas and several prominent family law practitioners have written Amicus Letters

in support of Srivastava. No party has filed any amicus letter in support ofthe Debtor.
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                                  Debtor's Motion to Employ


       16.    The Debtor filed the Debtor's Motion to Employ Special Counsel[Doc. No. 17]

(the "First Motion to Employ")on April 2,2019, seeking authority to employ Baruch to
represent the Debtor in the pending Termination Case.

       17.     On April 16,2019[Doc. No. 20], Srivastava objected to the First Motion to

Employ, which suffered from numerous procedural failures. For instance, the First Motion to
Employ consisted of a single sentence in its entirety—similar to the present Baruch Application,
which itself contains only a single sentence describing the services rendered. Accordingly, the

Court denied the First Motion to Employ.

       18.     The Debtor filed the Amended Motion ofDebtor to Employ Special Counsel[Doc.

No.28](the "Second Motion to Employ")on May 6,2019,remedying various flaws in the First
Motion to Employ, but failing to address Srivastava's concerns regarding payment ofadditional

attorneys' fees while continuing in contempt ofTexas court orders to pay Srivastava. Srivastava
objected once again to the Second Motion to Employ on May 20,2019[Doc. No. 37], raising
equitable concerns regarding disposition offunds which rightly were subject to payment to

Srivastava pursuant to Texas court orders.

       19.     The Court allowed the Second Motion to Employ by order dated July 2,2019

[Doc. No. 81], being careful to clarify that Baruch's fees, if any,remain subject to Court

approval and objection by Srivastava:

               FOR THE REASONS STATED ON THE RECORD,THE DEBTOR'S
               APPLICATION TO EMPLOY CHARLES "CHAD" BARUCH AS
               SPECIAL COUNSEL IS HEREBY GRANTED.SPECIAL COUNSEL'S
               FEES,OF COURSE,REMAIN SUBJECT TO THE COURT'S LATER
               DETERMINATION AS TO WHETHER THE FEES SHOULD BE
               AUTHORIZED AND PAID. MS. SRIVASTAVA'S RIGHT TO OBJECT
               TO THOSE FEES IS NOT WAIVED BY THE ALLOWANCE OF THIS
               MOTION.
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                                       Baruch Application


       20.     The Baruch Application seeks approval and payment offees by the Debtor in the

amount of$10,000,the highest possible amount allowed without having to submit a Rule 2016

fee application pursuant to Rule 13-7(c) ofthe Massachusetts Local Bankruptcy Rules

("MLBR").

       21.     The Baruch Application consists ofa cover sheet, together with Exhibit 1 (block-

billed time entries) and Exhibit 2(a narrative description ofservices rendered). Neither Exhibit is
sufficient to allow proper consideration ofthe Baruch Application.

       22.     Exhibit 1 consists of5 time entries, all of which are block entries with little

narrative. The time amounts, while technically in tenths of hours as required, are: 2.60, 6.50,

10.20, 8.00, and 0.40. Each description consists of a single sentence or phrase. Fully 18.20 hours

are summarized as "Continued legal research and drafting work on Respondent's Brief on the

Merits."


       23.     Exhibit 2 is accurately styled a "brief narrative description of services". While

Exhibit 2 spends approximately half a page describing background for the termination

proceedings(background that would have been appropriate in the First Motion to Employ),the

actual description ofservices rendered in connection with the Baruch Application itself comprise

a single sentence:

               During the last few days of October, I spent approximately 30 hours over a
               period of3 days researching and preparing Andrew's brief on the merits
               for the Supreme Court of Texas.

There is no other description ofthe services rendered in connection with the Application.

       24.     Upon information and belief, Baruch is holding $20,000 in the form ofa retainer.

But for the Debtor's bankruptcy filing, Srivastava could have sought to reach the retainer funds

pursuant to Texas court orders as part of her enforcement proceedings. Instead, the Debtor seeks

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to enjoy the benefit ofhis bankruptcyfiling by staying enforcementproceedings while at the
same time disposing ofvaluable assets that couldfund plan payments to Srivastava. Moreover,

it is unclear from the Baruch Application whether Baruch even intends to apply the retainer, or

whether he expects the Debtor to affirmatively pay any award in addition to the retained fimds.
       25.     Debtor is a serial litigant who is no stranger to the courts and has already dragged

his former wife and creditor Srivastava through four years of litigation. The Debtor's bankruptcy

filing, coming contemporaneously with his continued efforts to challenge Texas divorce court

orders, is merely the latest attempt to evade long-standing court orders. The Debtor has spent the

last three years spending the money he owes Srivastava on fnvolous litigation attacking the

agreed divorce judgment. Texas courts have rejected his attacks, as should this Court. The

Debtor's retention of Baruch as counsel arises from the Debtor's own refusal to abide by

judgments to which he previously agreed in the Texas courts. Further exhausting assets which

should have long ago been paid to Srivastava is not an appropriate use ofthe Debtor's estate.

       26.     Lastly, Texas provides no absolute right to counsel for civil litigants. The

employment of counsel is a privilege therefore, not a right, and moreover a privilege for which

Srivastava should not bear the expense. While Srivastava does not, in principle, oppose the

employment of counsel to assist the Debtor in the pending Texas proceedings, she does expressly

object to payment of estate assets to such counsel, especially in light ofthe repeated and failed

past collateral attacks ofthe Debtor.

       27.     Equity demands that the Debtor not be emboldened to engage additional counsel

in connection with further collateral attacks on finaljudgments,including the Agreed Divorce

Property Judgment approving his proposed property settlement, all while the bankruptcy stay

prevents Srivastava from moving forward on her own rights to collect on final judgments against
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him. Srivastava, as the Debtor's only legitimate creditor of any consequence, should not be

expected to bear the expense of yet another fnvolous challenge to any ofthe ten orders
previously defeating the Debtor's repeated attempts.

       WHEREFORE,for all ofthe foregoing reasons, Srivastava requests that the Court enter

an order:(i) sustaining this Objection;(ii) denying the Baruch Application; and (iii) granting
Srivastava such other and further relief as just and necessary.

                                                  Respectfully submitted,

                                                  GITA SRIVASTAVA,

                                                  By her attorneys,


                                                  /s/ Alex F. Mattera
                                                  Alex F. Mattera, BBO No.641760
                                                  Partridge Snow & Hahn LLP
                                                  30 Federal Street
                                                  Boston, MA 02110
                                                  Telephone: (857)214-3118
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 Dated: February 10, 2020




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                         UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF MASSACHUSETTS
                                      (Eastern Division)



  In re

                                                     Chapter 13
           ANDREW GREENHUT,
                                                     Case No. 19-10782-JEB

                           Debtor.




                                 CERTIFICATE OF SERVICE

                 I hereby certify that on this 10^*^ day of February,2020,1 caused to be
 served the within Objection ofCreditor Gita Srivastava to Applicationfor Compensation
  by Special Counsel, Charles "Chad" Baruch upon the following participants
 electronically via the CM/ECF System:

          Richard N. Gottlieb, Esq.                    John Fitzgerald, Esq., U.S. Trustee
          Law Offices of Richard N. Gottlieb           Office ofthe U.S. Trustee
          Ten Tremont Street                           J.W. McCormack Post Office &
          Suite 11,3'"'' Floor                         Courthouse
          Boston, MA 02108                             5 Post Office Square, 10^^ Fl., Ste. 1000
                                                       Boston, MA 02109

          Carolyn Bankowski, Trustee                   Gary W. Cruickshank, Esq.
          Chapter 12-12 Trustee Boston                 21 Custom House Street
          P.O. Box 8250                                Suite 920
          Boston, MA 02114                             Boston, MA 02110


  and 1 hereby certify that a copy ofthe Objection ofCreditor Gita Srivastava to
  Applicationfor Compensation by Special Counsel, Charles "Chad"Baruch was served
  by regular, first class mail, to the following interested parties as set forth below:
          Andrew Greenhut                              Barclays Bank Delaware
          21 Kingston Street                           Attn: Correspondence
          Somerville, MA 02144                         P.O. Box 8801
                                                       Wilmington, DE 19899
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       Capital One                                Capital One Bank(USA),N.A.
       Attn: Bankruptcy                           4515 N. Santa Fe Ave.
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       Chase Bank USA,N.A.                        Chase Card Services
       c/o Robertson, Anschutz & Schneid,P.L.     Correspondence Dept.
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       Mass. Dept. of Revenue                     Rtn Federal Credit Union
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          Bankruptcy Department                     Dallas, TX 75251
          P.O. Box 108
          St. Louis, MO 63166-0108


                                            /s/ Alex F. Mattera
                                            Alex F. Mattera, BBO No.641760




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